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                Exhibit 1
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    Business

    Goldman, Citigroup Targeted by Diversity
    Activists in 2017
    By Laura Colby
    December 6, 2016, 2:00 AM PST
    Updated on December 6, 2016, 7:49 AM PST

        Shareholders seek gender pay-gap data, statistics on hiring
        Focus on banks follows successful campaign on tech companies



         Diversity Activists Target Goldman, Citigroup




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    Diversity Activists Target Goldman, Citigroup


    A trio of activist investors is targeting big U.S. ﬁnancial institutions in 2017, demanding they
    disclose compensation data for men and women, and publish statistics about the race and
    gender of their employees.


    Goldman Sachs Group Inc., Citigroup Inc., Bank of America Corp. and Wells Fargo & Co. are
    among the companies in the sights of Arjuna Capital, Trillium Asset Management and Pax World
    Management, which say a diverse workforce produces better results. Though the investors are
https://www.bloomberg.com/news/articles/2016-12-06/goldman-citigroup-in-crosshairs-of-diversity-activists-for-2017?sref=BIWGmTdO   1/4
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    relatively small, each managing a few billion dollars, they have succeeded in pushing technolo y
    goliaths such as Apple Inc. and Intel Corp. to divulge information about pay gaps.


    Boston-based Arjuna has ﬁled proposals, typically voted on by shareholders at annual meetings,
    asking Bank of America, Wells Fargo, American Express Co. and Citigroup to report disparities in
    pay for male and female employees. It plans to ﬁle a similar proposal at JPMorgan Chase & Co.
    on Tuesday, said Natasha Lamb, Arjuna’s director of equity research and shareholder
    engagement.




    In the 2016 proxy season, Lamb ﬁled proposals at nine technolo y companies, including Apple
    and Intel, asking them to disclose their gender pay gaps. Seven agreed to make their gaps public
    and take steps to close them.


    “Given the ﬁnancial beneﬁts of diverse leadership teams, the female talent gap is simply bad for
    business,” Lamb said in an e-mail Monday. “Moving women up the ladder is critical, and
    companies can start by addressing structural barriers, including the gender pay gap.”


    Under-Represented

    As in technolo y, women lag men in ﬁnance leadership positions and pay. Women compose 49
    percent of the workforce at the roughly 20 U.S. banks that have at least $25 billion in capital, but
    account for only about 21.5 percent of board members and just 19.7 percent of executives,
    according to data compiled by Bloomberg. A 2016 Glassdoor survey found a 6.4 percent gender
    pay gap in the ﬁnancial industry, one of the highest.


    Pax World Management, which is based in Portsmouth, New Hampshire, and oversees about $4
    billion, ﬁled ﬁve resolutions on gender pay equity this fall, including one at Goldman Sachs and
    one at Bank of New York Mellon Corp., which was co-ﬁled with Arjuna. Pax said it’s in talks with
    both companies.


    While only a tiny proportion of shareholder proposals actually go to a vote, and fewer pass, the
    activists said they aim to draw attention to the issue and get companies to engage with them.
    Under Securities and Exchange Commission rules, investors need to hold a stake of $2,000 in a
    company for a minimum of a year before they can ﬁle a proposal.




https://www.bloomberg.com/news/articles/2016-12-06/goldman-citigroup-in-crosshairs-of-diversity-activists-for-2017?sref=BIWGmTdO   2/4
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    Trillium Capital has ﬁled resolutions seeking disclosure of data about race and gender at more
    than half a dozen ﬁnancial companies, including T. Rowe Price, First Republic Bank, Travelers
    Cos., Jones Lang LaSalle Inc., PNC Financial Services Group Inc., Aﬂac Inc. and Fifth Third
    Bancorp.


    Demonstrating Progress

    Trillium withdrew a proposal ﬁled with Visa Inc. this year after the company agreed to release
    data on race and gender it reports to the U.S. Equal Employment Opportunity Commission.


    Trillium focused on ﬁnancial companies because they aren’t transparent about diversity, said
    Brianna Murphy, who’s in charge of shareholder advocacy at the investor.


    “We need companies to demonstrate progress using metrics,” Murphy said. Firms should
    disclose the wage gap, leave policies and working hours in addition to the EEOC data, she said.


    The focus on diversity has sharpened under President Barack Obama, who has proposed adding
    compensation data to statistics that companies must report annually to the EEOC about race and
    gender at each level of leadership. But even with President-elect Donald Trump’s opposition to
    “political correctness,” companies aren’t likely to abandon eﬀorts at diversity because research
    has shown that diverse groups make better decisions and diverse companies get better returns,
    activists said.


    Mixed-gender investment teams also consistently outperform male-only managers, according to
    a Morningstar Inc. study published last year.


    “Companies thoroughly understand the business case,” said Heather Smith, lead sustainability
    research analyst at Pax, which manages the Global Women’s Index Fund, a selection of
    companies with strong female representation that outperformed its benchmark for the year
    ended Oct. 31. “I don’t see the topic going away any time soon.”


    (Updates with Morningstar study in penultimate paragraph.)



    In this article
       GS
       GOLDMAN SACHS GP
       220.71     USD      -1.67 -0.75%


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       C
       CITIGROUP INC
       50.13      USD    -0.27 -0.54%


       2111371Z
       TRILLIUM ASSET MANAGEMENT
       Private Company

       BAC
       BANK OF AMERICA
       27.26 USD   -0.32 -1.16%


       WFC
       WELLS FARGO & CO
       24.74      USD     -0.17 -0.66%




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